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                       IN THE UNITED STATES DISTRICT COURT FOR
                            THE EASTERN DISTRICT OF VIRGINIA


                                                                                             ® FEB -2 A 9^01


ROVSHAN HAMIDOV,
Plaintiff,



V.                                                           VERIFIED COMPLAINT




COINBASE,
      Defendant.




                                 VERIFIED COMPT AINT




The Plaintiff, Rovshan Hamidov [hereinafter collectively referred to as "Plaintiff' or ("Hamidov")], now

comes Pro Sc, and for its Verified Complaint, hereby alleges and states as follows:




                                       PARTIES




I. Plaintiff, Rovshan Hamidov, is an individual who is domiciled in The State of Virginia.
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I. Plaintiff, Rovshan Hamidov, is an individual who is domiciled in The State of Virginia.



II. Defendant, Coinbase, ["CB"] is a corporation that is organized under the laws of The State of
California, with its principal place of business in San Francisco, California. No member of Coinbase is a
citizen of or domiciled in the State of Virginia.



III. Defendant provides personal and/or individual financial investment and savings/holding infrastructure

products to the general public.




                               .niRismrTioN and venue




I. Subject matter jurisdiction is proper in this Court pursuant to 28 U.S.C. 1332 because of diverse

citizenship between Plaintiff and Defendant and because this is an action for damage in excess of

$75,000.00, exclusive of interest, costs, and attorney's fees.




II. Venue is proper in the Eastern District of Virginia as this is the district in which the Plaintiff resides

and/or may be found, and in which most of the acts giving rise to this action occurred.
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                                            FACTS




I. The Plaintiff is a private individual domiciled in The United States of America who is employed as
Chief Operations Officer of a private corporation located in Virginia. Plaintiff professionally plays a
significant role in managing a business portfolio of around forty-eight million dollars [$48,000,000.00].


II. Plaintiff is a customer of Defendant.




Plaintiff, through individual intelligence, entrepreneurship and human ingenuity, along with the aid of
God, is in the professional business of servicing subprime auto loans generated by an affiliated Car
Dealership, alongside an internally-partnered, financial services institution ["Bank"].




III. The term "fiduciary responsibility" is commonly and legally accepted in US Courts as describing the

legal responsibility to act solely in the best interest of another party.



"Fiduciary" means trust, and a person with a fiduciary duty has a legal obligation to maintain that trust.

For example, lawyers have a fiduciary duty to act in the best interest of their clients.
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IV. Defendant operates in the public square as a financial services agent, handling the securing of both
physical and electronic, monetary deposits and transfers for its customers [FDIC insured up to $250,000
per individual account, according to existing Federal Regulations] throughout, before and post,
investment activity.



V. A Consumer "Dispute" is described by Coinbase as being the process by which a customer
["Consumer"] seeks financial relief from Coinbase ["Defendant"] in the form of a refund, or credit
(provisional and permanent).




VI.   The Consumer Financial Protection Bureau is an independent agency of the United States

government responsible for consumer protection in the financial sector.




Vll. Article 3 of Consumer Dispute Policy and Regulation outlines the following:




Reasonable investigation. A creditor must conduct a reasonable investigation before it determines that
no billing error occurred or that a different billing error occurredfrom that asserted. In conducting its
investigation of an allegation of a billing error, the creditor may reasonably request the consumer's

cooperation. The creditor may not automatically deny a claim based solely on the consumer'sfailure or
refusal to comply with a particular request, including providing an affidavit or filing a police report.

However, if the creditor otherwise has no knowledge offacts confirming the billing error, the lack of

information resulting from the consumer'sfailure or refusal to comply with a particular request may lead
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VIII. On or about January 16, 2024 and the days thereafter, Plaintiff engaged in investment activities,
utilizing Defendants' transfer apparatus and computerized infrastructure.



IX. Plaintiff found himself to be scammed by a third party who turned out to be an unidentified party

utilizing legal and legitimate sites and instruments, to interface with members of the public for the
purpose of financial entrapment.



X. Upon discovery of being a financial fraud victim. Plaintiff immediately contacted his financial
institution ["Wells Fargo"] and Defendant, Coinbase, for the purpose of filing a customer dispute due to
fraud.




XI. "Fraud" is a legally covered, financial crime category within the financial services industry, which
shall be credited back to a customer's account upon the adequate completion of a Consumer Dispute, by a

consumer or an authorized third party.



XII. Hamidov ["Plaintiff'] submitted a Consumer Dispute with Wells ["Defendant"] which was

subsequently denied. [A] $25,000. Case ID: 285242082,[B]$150,000. Case ID: 65474388,[C]$63,000.
Case ID: 65474455; Case Complaint No: 06202401223369407. Hamidov ["Plaintiff'] was subsequently,

completely ignored by Coinbase to-date, which has led to this filing.



XIII. Section 1026.13(a)(3) of Federal Regulations surrounding the aforementioned types of transactions

covers disputes about goods or services that are "not accepted" or ^^not delivered as agreed": for
example:


A. The appearance on a periodic statement ofa purchase, when the consumer refused to take delivery of

goods because they did not comply with the contract.
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B. Delivery ofproperty or services dijferentfrom that agreed upon.


C. Delivery ofthe wrong quantity.


D. Late deliveiy.


E. Delivery^ to the wrong location.


ii. Section 1026.13(a)(3) does not apply to a dispute relating to the quality of property or services that the

consumer accepts. Whether acceptance occurred is determined by state or other applicable law.




                                      FIDUCIARY ABUSEP




Re." Duty ofCare


The dniv of care requires that directors inform themselves "prior to making a business decision, ofall

material information reasonably available to them."


See Smith v: Van Gorkcm. 488 A.2d 858(1985).



Whether the directors were informed of all material information depends on the quality of the

information, the advice available, and whether the directors had "sufficient opportunity to acquire

knowledge concerning the problem before action."


See Moran v. Household Intern. Inc.. 490 A.2d 1059 il985).
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Moreover, a director may not simply accept the information presented. Rather, the director must assess the

information with a ^'critical eye,"so as to protect the interests ofthe corporations and its stockholders.

See Smith t'. Van Gorkcm, 488 A.2d ^5S (19H5).



Duty ofLoyalty


The duty of loyally means that all directors and oiUcers ofa corporation working in their capacities as

corporate fiduciaries must act without personal economic conflict. As the Delaware Supreme Cowl

explained in Guth v. Loft. 5 A.2d .50.1 510 (Del. 19.VJ). "Corporate officers and directors are not

permitted to use their position oftrust and confidence tofurther their private interest."




Duty ofGood Faith


Under the duty of nood faith, a corporation's directors and officers must advance interests of the

coiporation andfulfill their duties without violating the law.


See In re The Walt Disney Co. Derivative Lilly:. 906 A.2d 27(Dei. 2006).


Duty ofConfidentiality


Under the duty ofconfidentiality, a corporation's directors and officers must keep corporate information

confidential and not disclose itfor their own benefit.


See Guth y. Loft. Inc.. 5 A.2d 50.^ (Del 1939).



Duty ofPrudence
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 Under the duty ofprudence, a irustee must administer a trust with the degree oj care, skill, and caution

 that a prudent trustee would exercise.


See Atmien Inc.. v. Harris. 577 U.S. (2016).




 Defendant, Coinbase, through its staff, employees, contractors, servants and willing participants, engaged

 in a direct violation of due process in consumer practice. Despite being repeatedly contacted by a

 consumer, for an entire week, Defendant refused to even acknowledge Plaintiff.             Coinbase was

subsequently electronically provided with verifiable, direct evidence of 3rd party fraud (ironically from

 Wells Fargo internal system information), in order to maximize corporate financial standing, in an effort

to deceive, exploit and take financial advantage of, Coinbase willfully denied a valid fraud complaint

from a customer in good standing and who has not been tied to any fraudulent activity associated thereto.




WHEREFORE,the Plaintiff demands and prays for the following relief:



(1)Judgment in favor of Plaintiff against Defendants, in the

amount of $400,000.00 which includes both actual and punitive relief; and,



(2) Any and all relief as further deemed appropriate by The Honorable Court.
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THE PLAINTIFF DEMANDS A JURY TRIAL.




Respectfully submitted,

ROVSHAN HAMIDOV
/s/ Rovshan Hamidov.
Suing as a Private Individual.
Email: rovshan@caspiancars.us
Phone:202-317-1856
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                             CERTIFICATE OF SERVICE




 T hereby certify that a copy of the foregoing was sent via electronic mail and filed
 electronically via CM/ECF or mailed by first class mail on February 01, 2024 to the following
 parties:




        COINBASE


        Attention: Legal Department

        548 Market Street


        San Francisco, CA 94104




            /s/Rovshan Hamidov. Rovshan Hamidov, Plaintiff.

                  February 01, 2024



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